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                            UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF PENNSYLVANIA


    BLAIR DOUGLASS,

                         Plaintiff,                         Civil Action No. 2:22-cv-986

          v.                                                COMPLAINT FOR DECLARATORY
                                                            AND INJUNCTIVE RELIEF
    C.C. FILSON CO.,

                         Defendant.


               COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

         Plaintiff Blair Douglass (“Douglass” or “Plaintiff”) brings this action against Defendant

C.C. Filson Co. (“Filson” or “Defendant”). Plaintiff makes the following allegations pursuant to

the investigation of counsel and based upon information and belief, except as to the allegations

specifically pertaining to Plaintiff, which are based on personal knowledge:

                         NATURE AND SUMMARY OF THE ACTION

         1.      This action arises from Defendant’s failure to make its digital properties accessible

to blind individuals,1 which violates the effective communication and equal access requirements

of Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C. §§ 12181-12189. These

provisions were enacted “to provide a clear and comprehensive national mandate for the

elimination of discrimination against individuals with disabilities”2 by “assur[ing] equality of

opportunity, full participation, independent living, and economic self-sufficiency.”3




1
  Douglass uses the word “blind” to describe individuals who, as a result of a visual impairment,
have substantially limited eyesight. This includes individuals who have no vision at all as well as
people who have low vision.
2
  42 U.S.C. § 12101(b)(1).
3
  42 U.S.C. § 12101(a)(7).


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       2.      Although styled as an individual action, the injunctive relief that Douglass seeks

will inure to the benefit of an estimated 2.3 percent of the United States population who report

having a visual disability,4 and to Defendant, who will extend its market reach to this population.5

       3.      For this significant portion of Americans, accessing websites, mobile applications,

and other information via their smartphones has become a necessity, not a convenience. In contrast

to the largely stationary internet of the early 2000s, Americans today are increasingly connected

to the world of digital information while “on the go” via smartphones.6

       4.      Indeed, a growing share of Americans use smartphones as their primary means of

online access at home. Today roughly one-in-five American adults are “smartphone-only” internet

users—meaning they own a smartphone, but do not have traditional home broadband service.7

       5.      The growth of smartphone usage is rivaled only by the myriad ways in which users

can harness the capabilities of the internet for the betterment of their lives through education,

employment, entertainment, commerce, and countless other pursuits.

       6.      The U.S. Chamber of Commerce has documented consumers’ increasing reliance

on mobile platforms to shop online:




4
  Erickson, W., Lee, C., von Schrader, S., Disability Statistics from the American Community
Survey (ACS), Cornell University Yang-Tan Institute (YTI), www.disabilitystatistics.org (last
accessed July 1, 2022).
5
  Sharron Rush, The Business Case for Digital Accessibility, W3C Web Accessibility Initiative
(Nov. 9, 2018), https://www.w3.org/WAI/business-case/ (last accessed July 1, 2022) (“The global
market of people with disabilities is over 1 billion people with a spending power of more than $6
trillion. Accessibility often improves the online experience for all users.”).
6
  The wide-scale adoption of this technology is staggering. According to Pew Research Center, the
vast majority of Americans – 96% – now own a cellphone of some kind. And the share of
Americans that own smartphones has climbed from just 35% in 2011 to 81% in 2019—amounting
to more than 265 million people in the United States. U.S and World Population Clock, U.S.
Census Bureau, https://www.census.gov/popclock/ (last accessed July 1, 2022) (U.S. population
on June 12, 2019 was 328.1 million).
7
  Id.


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       The average consumer spends more than $1,700 per year on online shopping, a
       number that’s continuing to rise. The convenience, affordability and ability to
       compare prices with ease has led more and more customers to visit e-commerce
       sites before heading to a brick-and-mortar location.8

       New research by Leanplum found that 95% of consumers will buy at least half of
       their gifts online. Shoppers, especially millennials and Gen Zers, favor the
       convenience and the great offers and discounts associated more with shopping
       online than visiting a brick-and-mortar location. It’s these groups that are driving
       e-commerce retailers to be strategic with their website design. The Leanplum
       survey found that 80% of respondents shop on their mobile devices.9

       7.      The Supreme Court has even acknowledged the phrase, “‘There’s an app for that’

has become part of the 21st-century American lexicon.” Apple Inc. v. Pepper, 139 S. Ct. 1514,

1518, 203 L.Ed.2d 802, 806 (2019).

       8.      But “[a]s technology continues to evolve at a rapid pace, it is important to consider

factors that can facilitate or impede technology adoption and use by people with disabilities.”10

       9.      This is especially true with respect to accessing the internet by smartphone, where

people with disabilities stand to benefit immensely if online services were fully and equally

accessible to them. The National Federation of the Blind explains:

       In many ways, individuals with disabilities rely on Web content more so than their
       nondisabled peers because of inherent transportation, communication, and other
       barriers. A blind person does not have the same autonomy to drive to a covered
       entity’s office as a sighted person. A deaf or hard of hearing person does not have


8
   Emily Heaslip, A Guide to Building an Online Store, U.S. Chamber of Commerce (Sept. 20,
2019), https://www.uschamber.com/co/start/startup/how-to-build-online-stores (last accessed July
1, 2022).
9
  Emily Heaslip, 5 Ways to Optimize Your E-Commerce Site for Mobile Shopping, U.S. Chamber
of Commerce (Jan. 6, 2020), https://www.uschamber.com/co/run/technology/building-mobile-
friendly-ecommerce-websites (last accessed July 1, 2022). “According to one report, e-commerce
is growing 23% each year[.]” Emily Heaslip, The Complete Guide to Selling Online, U.S. Chamber
of Commerce (Jan. 28, 2020), https://www.uschamber.com/co/run/technology/small-business-
ecommerce-guide (last accessed July 1, 2022).
10
    National Disability Policy: A Progress Report, Nat’l Council on Disability (Oct. 7, 2016),
https://ncd.gov/sites/default/files/NCD_ProgressReport_ES_508.pdf (last accessed July 1, 2022).


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        the same opportunity to call a covered entity’s office. A person with an intellectual
        disability does not have the same ability to interact independently with the staff at
        a covered entity’s office. The 24-hour-a-day availability of information and
        transactions on covered entity websites and mobile apps provides a level of
        independence and convenience that cannot be replicated through any other means.
        That is why the number of Americans who rely on the Internet has increased year
        after year and why entities offer information and transactions through that unique
        medium.11

        10.    When digital content is properly formatted, it is universally accessible to everyone.

When it’s not, the content provider fails to communicate to individuals with a visual disability

effectively. In turn, these individuals must expend additional time and effort to overcome

communication barriers not applicable to sighted users, which may require the assistance of third

parties or, in some instances, may deny outright access to the online service.12

        11.    Unfortunately, Douglass cannot fully and equally access Defendant’s Digital

Platform (defined below) because Defendant’s accessibility policies and practices have made it

impossible to perceive, understand, or operate the platform’s content with screen reader auxiliary

aids.

        12.    As a result, this action for injunctive relief seeks an order requiring that Defendant

(a) make its Digital Platform (defined below) accessible to Douglass and (b) adopt sufficient




11
    Comment from disability rights organizations to DOJ Supplemental Advance Notice of
Proposed Rulemaking “Nondiscrimination on the Basis of Disability; Accessibility of Web
Information and Services of State and Local Government Entities,” C RT Docket No 128, RIN
119 -AA65, Answer 57 (October 7, 2016) (citations omitted).
12
   These factors often lead disabled individuals to abandon the process of purchasing items online
after they begin. Kasey Wehrum, Your Website is Scaring Customers Away. 5 Easy Ways to Fix
It., Inc. Mag. (Jan. 2014), https://www.inc.com/magazine/201312/kasey-wehrum/how-to-get-
online-customers-to-complete-purchase.html (last accessed July 1, 2022) (documenting the most
common causes of shopping cart abandonment, including: “Your Checkout button is hard to
find[,]” “Shoppers question the safety of their personal info[,]” and “Getting through the checkout
process takes multiple clicks.”).


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policies and practices, the details of which are more fully described below, to ensure the platform

does not become inaccessible again in the future.

                                 JURISDICTION AND VENUE

       13.     The claims alleged arise under Title III such that this Court’s jurisdiction is invoked

pursuant to 28 U.S.C. § 1331 and 42 U.S.C. § 12188.

       14.     Defendant attempts to, and indeed does, participate in the Commonwealth’s

economic life by offering and providing products and services over the internet to Pennsylvania

residents, including Douglass. Unlike, for example, a winery that may not be able sell and ship

wine to consumers in certain states, Defendant purposefully avails itself of the benefits and

advantages of operating an interactive, online business open 24-hours a day, 7-days a week, 365-

days a year to Pennsylvania residents.13

       15.     These online interactions between Defendant and Pennsylvania residents involve,

and indeed require, Defendant’s knowing and repeated transmission of computer files over the

internet in Pennsylvania.

       16.     Indeed, Defendant places cookies on computers and other electronic devices

physically located in Pennsylvania every time a Pennsylvania resident visits the Digital Platform

(defined below).




13
   See Gniewkowski v. Lettuce Entertain You Enters., No. 2:16-cv-1898-AJS, Order, ECF 123
(W.D. Pa Apr. 25, 2017), clarified by Order of Court, ECF 169 (W.D. Pa. June 22, 2017) (Judge
Schwab) (citing Zippo Mfg. Co. v. Zippo Dot Com, Inc., 952 F. Supp. 1119 (W.D. Pa. 1997)
(exercising specific personal jurisdiction over forum plaintiff’s website accessibility claims against
out-of-forum hotel operator)); Law School Admission Council, Inc. v. Tatro, 153 F. Supp. 3d 714,
720-21 (E.D. Pa. 2015) (exercising personal jurisdiction over out-of-forum website operator);
Access Now Inc. v. Otter Products, LLC, 280 F. Supp. 3d 287 (D. Mass. 2017) (exercising personal
jurisdiction over forum plaintiff’s website accessibility claims against out-of-forum website
operator); Access Now, Inc. v. Sportswear, Inc., 298 F. Supp. 3d 296 (D. Mass. 2018) (same).


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       17.     Douglass was injured when he attempted to access the Digital Platform (defined

below) from Pittsburgh, Pennsylvania, but encountered communication barriers that denied him

full and equal access to Defendant’s online products, content, and services.

       18.     Venue in this District is proper under 28 U.S.C. § 1391(b)(2) because this is the

judicial district in which a substantial part of the acts and omissions giving rise to Douglass’s

claims occurred.

                                             PARTIES

       19.     Douglass is a natural person over the age of 18. He resides in and is a citizen of

Pittsburgh, Pennsylvania, located in Allegheny County.

       20.     He works for an area university as a Program Administrator, managing all phases

of the admission process for a highly competitive science training program, among other things.

Douglass is also a licensed Pennsylvania attorney. He graduated from the University of Pittsburgh

School of Law. During his enrollment at Pitt Law, Douglass completed a judicial internship in the

United States District Court for the Western District of Pennsylvania.14

       21.     Douglass is and, at all times relevant hereto, has been legally blind and is therefore

a member of a protected class under the ADA, 42 U.S.C. § 12102(2), and the regulations

implementing the ADA set forth at 28 CFR §§ 36.101 et seq. As a result of his blindness, Douglass

relies on screen access software, including JAWS 2022 from Freedom Scientific and VoiceOver

with iOS, to access digital content, like an email, a website, or an app.




14
  Blair Douglass, LinkedIn, https://www.linkedin.com/in/blair-douglass-a0700871 (last accessed
July 1, 2022).


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        22.     Douglass has advocated for blind individuals his entire life and long before filing a

lawsuit.15

        23.     The United States District Court for the Western District of Pennsylvania recently

appointed Douglass as class representative in a class action case substantially similar to this

individual action. Murphy v. Charles Tyrwhitt, Inc., No. 1:20-cv-00056 (Erie), 2020 U.S. Dist.

LEXIS 222540, at *9, *34 (W.D. Pa. Nov. 25, 2020), report and recommendation adopted by 2021

U.S. Dist. LEXIS 144 (W.D. Pa. Jan. 4, 2021) (“Based on the above, the Court finds that Anthony

Hammond Murphy and Blair Douglas [sic] will fairly and adequately represent the class as

representative Plaintiffs and that their proposed class counsel will fairly and adequately protect the

interests of the class and provide capable legal representation. The adequacy requirement of Rule

23(a) is satisfied.”).

        24.     Defendant is a Delaware corporation with a principal place of business in

Washington.

        25.     Defendant sells outdoor apparel, accessories, and more to consumers.

        26.     In order to access, research, or purchase the products and services that Defendant

offers, Douglass may visit Defendant’s digital properties, located at https://www.filson.com/ (the

“Digital Platform”).



15
   Treshea N. Wade, Blindness doesn’t keep teen from success, Trib Total Media (May 30, 2005),
https://archive.triblive.com/news/blindness-doesnt-keep-teen-from-success/ (last accessed July 1,
2022) (“I am not striving necessarily for perfection, but I just want to do well[.] …Sure I have a
disability. But it’s a disability that anyone can readily overcome with a lot of hard work.”); Zak
Koeske, Pitt student aims to rise above stereotype, Pittsburgh Post-Gazette (July 23, 2009),
https://www.post-gazette.com/local/south/2009/07/23/Pitt-student-aims-to-rise-above-
stereotype/stories/200907230364 (last accessed July 1, 2022) (“Blindness can't hold you back from
doing anything you want to do[.] …Blindness is simply a physical condition. You have to make a
few adaptations, but those aren't big enough to affect your ability to do a job competently. …There
are always going to be some people who doubt your ability. ... I have no trouble trying to prove
them wrong.”).


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       27.     Defendant owns, operates, and/or controls its Digital Platform and is responsible

for the policies, practices, and procedures concerning the Digital Platform’s development and

maintenance.

                        STANDING UP FOR TITLE III OF THE ADA

       28.     “Congress passed the ADA in 1990 to fix a serious problem—namely, the seclusion

of people with disabilities resulting in explicit and implicit discrimination.”16 “It was called the

‘20th Century Emancipation Proclamation for all persons with disabilities.’”17 “Title III of the ADA

contained broad language covering numerous public accommodations; both new construction and

existing facilities were required by the statute to remove barriers to access. The disabled population

hoped that, as a result of the ADA, their lives would no longer be shaped by limited access and the

inability to choose.”18 “However, reality—a lack of compliance with the ADA and severe

underenforcement of the statute—soon destroyed this hope.”19




16
   Kelly Johnson, Testers Standing up for the Title III of the ADA, 59 Cas. W. Res. L. Rev. 683,
684 (2009), http://scholarlycommons.law.case.edu/caselrev/vol59/iss3/6 (last accessed July 1,
2022) (citing H.R. REP. No. 101-485, pt. 2, at 28-29 (1990)).
17
   Id. (quoting D. Russell Hymas & Brett R. Parkinson, Comment, Architectural Barriers Under
the ADA: An Answer to the Judiciary’s Struggle with Technical Non-Compliance, 39 Cal. W. L.
Rev. 349, 350 (2003),
https://scholarlycommons.law.cwsl.edu/cgi/viewcontent.cgi?article=1166&context=cwlr            (last
accessed July 1, 2022)); see also 136 Cong. Rec. 17,369 (1990) (statement of Sen. Tom Harkin)
(discussing how facilities have failed to comply with the ADA by not removing barriers that
impede access).
18
    Johnson, supra note 16 (citing Elizabeth Keadle Markey, Note, The ADA’s Last Stand?:
Standing and the Americans with Disabilities Act, 71 Fordham L. Rev. 185 (2002),
https://ir.lawnet.fordham.edu/flr/vol71/iss1/4 (last accessed July 1, 2022) (arguing for a more
lenient standard for standing under the ADA)).
19
   Johnson, supra note 16 (citing Samuel R. Bagenstos, The Perversity of Limited Civil Rights
Remedies: The Case of “Abusive” ADA Litigation, 54 UCLA L. Rev. 1, 3 (2006),
https://www.uclalawreview.org/the-perversity-of-limited-civil-rights-remedies-the-case-of-
abusive-ada-litigation/ (last accessed July 1, 2022) (discussing the need for private enforcement in
Title III of the ADA and the fact that the limitations courts are placing on ADA plaintiffs are
causing abusive litigation)).


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       29.     Thirty years “after the passage of the ADA, numerous facilities are still not

compliant leaving the disabled population in a second-class citizenship limbo. Title III of the ADA

allows both the U.S. Attorney General20 and private individuals21 to sue, but the rate at which [ ]

the Attorney General [is] bringing suit seeking compliance is extremely low. The Department of

Justice’s Disability Section, tasked with ADA enforcement, is understaffed[.]”22

       30.     Thus, “private suits by necessity represent the main tool for ensuring compliance

with Congress’ intent in passing the ADA,”23 most of which suits “are brought by a small number

of private plaintiffs who view themselves as champions of the disabled.”24

       31.     DOJ supports this dynamic, recognizing that because it “cannot investigate every

place of public accommodation” for ADA compliance, “[p]rivate plaintiffs play an important role

in enforcing the ADA[.]”25

       32.     Courts recognize this dynamic too.

       [Defendant] also points to the number of cases filed by the same plaintiff in this
       jurisdiction. Counsel have filed nine cases in this jurisdiction on behalf of [the
       plaintiff]. I am not impressed by this argument. If the ADA were enforced directly
       by the government, as are, for example, the fair housing laws, it is likely that
       government lawyers would have reached out to disabled individuals — “testers” as
       they are called — to find out which businesses were complying and which were




20
   42 U.S.C. § 12188(b).
21
   42 U.S.C. § 12188(a).
22
   Johnson, supra note 16.
23
   Betancourt v. Ingram Park Mall, 735 F. Supp. 2d 587, 596 (W.D. Tex. 2010).
24
   Id. (quoting Molski v. Evergreen Dynasty Corp., 500 F.3d 1047, 1062 (9th Cir. 2007)); D’Lil v.
Best Western Encina Lodge & Suites, 538 F.3d 1031, 1040 (9th Cir. 2008) (same).
25
   Statement of Interest of the United States of America, ERC v. Abercrombie & Fitch Co., No.
1:09-cv-03157 (D. Md.), ECF No. 38, at *1 (July 6, 2010); See also Hensley v. Eckerhart, 461
U.S. 424, 445 (1983) (“All of these civil rights laws depend heavily upon private enforcement, and
fee awards have proved an essential remedy if private citizens are to have a meaningful opportunity
to vindicate the important Congressional policies which these laws contain.”).


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       not. [The named plaintiff] has functioned here as a “tester,” which is entirely
       appropriate.26

       33.     Consistent with the policies summarized above, Douglass now assumes the role of

private attorney general to ensure Defendant communicates effectively with him and other

consumers who demand full and equal screen reader access to Defendant’s digital services.

                               SUBSTANTIVE ALLEGATIONS

       34.     The internet is a significant source of information, services, and transactions with

instant and 24/7 availability and without the need to travel to attain them.

       35.     Individuals who are blind access the internet and mobile applications from

smartphones and/or personal computers by using keyboard controls and screen access software,

which vocalizes information presented visually on a computer screen or displays that information

on a user-provided refreshable braille display. Such software provides the only method by which

blind individuals can independently access digital information and content. When websites and

applications are not designed to allow for use with screen access software, blind individuals are

unable to access the information, products, and services offered through the internet.

       36.     Screen access technology has existed for decades27 and widely-accepted standards

exist to guide entities in making their websites and apps accessible to screen access software,

including legal standards under Section 508 of the Rehabilitation Act. The U.S. Department of




26
   Norkunas v. HPT Cambridge, LLC, 969 F. Supp. 2d 184, 194 (D. Mass. 2013) (Young, J.)
(quoting Iverson v. Braintree Prop. Assocs., L.P., No. 04-cv-12079-NG, 2008 WL 552652, at *3
n.5 (D. Mass. Feb. 26, 2008) (Gertner, J.)); see also Murphy v. Bob Cochran Motors, Inc., No.
1:19-cv-00239, 2020 U.S. Dist. LEXIS 139887, at *15-16 (W.D. Pa. Aug. 4, 2020), adopted by
Murphy v. Bob Cochran Motors, Inc., 2020 U.S. Dist. LEXIS 177593 (W.D. Pa., Sept. 28, 2020)
(upholding tester standing in a substantially identical ADA website accessibility case).
27
   Annemarie Cooke, A History of Accessibility at IBM, American Found. for the Blind (Mar.
2004), https://www.afb.org/aw/5/2/14760 (last accessed July 1, 2022) (Jim Thatcher created the
first screen reader at IBM in 1986).


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Health & Human Services maintains Best Practices for Accessible Content to ensure that

accessibility is “considered throughout the [website] development process.”28 The Commonwealth

of Pennsylvania has maintained an Information Technology Accessibility Policy since March 16,

2006,29 and a separate Accessibility Policy that recognizes “[a]ccessible websites ensure that as

many people as possible can use internet-based information and services, regardless of disability

or functional limitation.”30

                           Defendant’s Inaccessible Digital Platform

       37.     Defendant owns, operates, developed, procured, maintains and/or uses the Digital

Platform for the purpose of communicating information about its products and services to

consumers through computers, smartphones, and other mobile devices.

       38.     Defendant is required to ensure that its Digital Platform communicates information

about its products and services effectively to people with disabilities. Despite this obligation,

Defendant fails to communicate this information effectively to individuals who are blind because

the Digital Platform is not compatible with screen reader auxiliary aids.

       39.     Specifically, Douglass attempted to access Defendant’s Digital Platform from

Pittsburgh, Pennsylvania using JAWS 2022 from Freedom Scientific or VoiceOver with iOS (i.e.,

on his Apple iPhone).

       40.     “JAWS, Job Access With Speech, is the world’s most popular screen reader,

developed for computer users whose vision loss prevents them from seeing screen content or



28
    See Accessibility Basics, U.S. Dep’t of Health & Human Servs., usability.gov,
https://www.usability.gov/what-and-why/accessibility.html (last accessed July 1, 2022).
29
   Information Technology Policy: Information Technology Accessibility Policy, Pa. Office of
Admin. (Mar. 16, 2006), https://www.oa.pa.gov/Policies/Documents/itp_acc001.pdf (last
accessed July 1, 2022).
30
   Accessibility Policy, Commonwealth of Pa., https://www.pa.gov/accessibility-policy/ (last
accessed July 1, 2022).


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navigating with a mouse. JAWS provides speech and Braille output for the most popular computer

applications on your PC. You will be able to navigate the Internet, write a document, read an email

and create presentations from your office, remote desktop, or from home.”31

       41.     “VoiceOver is an industry-leading screen reader that tells

you exactly what’s happening on your device. VoiceOver can now

describe people, objects, text, and graphs in greater detail than ever.

Auditory descriptions of elements help you easily navigate your screen

through a Bluetooth keyboard or simple gestures on a touchscreen or

trackpad. And with unique rotor gestures that function like a dial on

touchscreens and trackpads, you can make content such as websites a

breeze to browse.”32

       42.     Here is an example of

another online store’s successful use of

audio descriptions to communicate its

products to screen reader users.33 The

image on the left illustrates what shoppers

perceive visually when browsing the

online store with an iPhone. To the right

is an image from the online store with the audio description highlighted for that image in green.

Although invisible to the eye, screen access software reads this highlighted text aloud in order to



31
   JAWS®, Freedom Scientific, https://www.freedomscientific.com/products/software/jaws/ (last
accessed July 1, 2022).
32
   See Accessibility, Apple, https://www.apple.com/accessibility/vision/ (last accessed July 1,
2022).
33
   See Custom Ink, Homepage, https://www.customink.com/ (last accessed Mar. 28, 2019).


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describe the image to shoppers who cannot perceive content visually. In this example, when

shoppers tab to the image file with a screen reader, the online store announces, “One burlap and

cotton tote bag with a custom printed architectural company logo.” Blind shoppers require audio

descriptions, frequently called “alternative text,” like this to access digital content fully, equally,

and independently.

       43.     Unfortunately, because of Defendant’s failure to build its Digital Platform in a

manner that is compatible with screen access software, including VoiceOver, Douglass is unable

to understand, and thus is denied the benefit of, much of the content and services he wishes to

access from his smartphone.

       44.     As a result of visiting the Digital Platform in March 2021, and from investigations

performed on his behalf at that time, Douglass found that Defendant fails to communicate

information about its products and services effectively because screen reader auxiliary aids cannot

access important content on the Digital Platform. Click the links at the end of each subparagraph

to watch short videos illustrating some of the communication barriers on Defendant’s Digital

Platform in March 2021.

               (a)      Defendant uses visual cues as the only means of conveying information,

indicating an action, prompting a response, or distinguishing a visual element. Providing

information conveyed visually through another means is necessary to ensure that consumers who

cannot perceive visual cues can still perceive important information in a non-visual manner. For

example, the Digital Platform allows consumers to select the size of the product they wish to

purchase. Defendant identifies the selected size visually by highlighting in white the size a shopper

selects. Unfortunately, Defendant fails to include alternative text to identify this selection in a non-

visual means. This makes it difficult and frustrating, if not impossible, for Plaintiff to verify what




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size he selected, if any. Click the following link to view a short video describing this access barrier:

https://youtu.be/wUTId5iNaQ0.

                (b)     Defendant does not provide a text equivalent for non-text elements.

Providing text alternatives allows the information to be rendered in a variety of ways by a variety

of consumers. A person who cannot see a picture, logo, or icon can have a text alternative read

aloud using synthesized speech. For example, consumers who perceive content visually will notice

various logos on the Digital Platform’s various product pages identifying the payment methods

that Defendant accepts, including credit card, PayPal, Amazon Pay, Apple Pay, and Affirm.

Unfortunately, Defendant’s accessibility policies fail to ensure all of these logos include

sufficiently descriptive alternative text. As a result, Plaintiff is unable to determine whether the

Digital Platform accepts his preferred method of payment. Click the following link to view a short

video describing this access barrier: https://youtu.be/O8SQk1v2sZE.

                (c)     Consumers who perceive content visually will notice a pop-up window after

placing an item in their shopping cart. This pop-up window confirms the shopper placed the item

in their shopping cart successfully and asks consumers whether they would like to checkout.

Unfortunately, Defendant fails to notify screen readers when these pop-up windows appear. As a

result, screen reader users, like Plaintiff, do not receive this confirmation and shortcut to the

payment platform. Instead, screen reader users must tab back to the top of a webpage in order to

complete a purchase. This burdensome, backward, and confusing interaction makes it more likely

that Plaintiff and other blind shoppers will abandon the items in their shopping cart and leave the

Digital Platform before completing a purchase. Click the following link to view a short video

describing this access barrier: https://youtu.be/mErjTOJKido.




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               (d)     Defendant has buried an Accessibility Statement in the footer of the Digital

Platform, where screen reader users, like Plaintiff, are unlikely to discover it. Imagine having to

tab to the last cell in a spreadsheet but not knowing how long that would take or whether the

information you seek (i.e., the Accessibility Statement) even exists. Then imagine many of the

preceding cells contain unintelligible information (i.e., the access barriers described herein) you

must sift through first. This pursuit frustrates screen reader users’ online experience such that they

are likely to abandon the process before discovering the Accessibility Statement or using the

contact information it may include. Click the following link to view a short video describing this

access barrier: https://youtu.be/jeyT9YPcgrs.

               (e)     Defendant uses visual cues as the only means of conveying information,

indicating an action, prompting a response, or distinguishing a visual element. Providing

information conveyed visually through an audio means is necessary to ensure that consumers who

cannot see can still perceive this information. For example, Defendant places a gray slash atop the

sizes in which a particular product is unavailable. Consumers who perceive content visually will

see this visual cue and infer that the product they’re researching is unavailable in the corresponding

size. Unfortunately, Defendant fails to include sufficiently descriptive alternative text to also

identify which sizes are unavailable, making it impossible for Plaintiff to discover which sizes are

out-of-stock without visually perceiving the context in which this information is communicated.

Click the following link to view a short video describing this access barrier: https://youtu.be/-

KzclPYCN6E.

       45.     Consistent with public policy encouraging the resolution of “dispute[s] informally

by means of a letter[,]” see Yahoo! Inc. v. La Ligue Contre Le Racisme Et L’Antisemitisme, 433

F.3d 1199, 1208 (9th Cir. 2006), which “prelitigation solutions [are] clearly, the most expedient




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and cost-effective means of resolving” website accessibility claims, see Sipe v. Am. Casino & Ent.

Properties, LLC, 2016 WL 1580349, at *2-3 (W.D. Pa. Apr. 20, 2016), Douglass contacted

Defendant about its inaccessible Digital Platform and attempted to resolve his discrimination

claims before commencing litigation, but that attempt was unsuccessful.

       46.     As a result, Douglass and his counsel completed another review of Defendant’s

Digital Platform in June 2022. This subsequent investigation confirms Defendant still fails to

communicate information about its products and services effectively because screen reader

auxiliary aids cannot access important content on the Digital Platform. Click the links at the end

of each subparagraph to watch short videos illustrating some of the communication barriers on

Defendant’s Digital Platform in June 2022.

               (a)    Defendant prevents screen reader users from accessing some primary

content. For example, Defendant allows consumers to search Defendant’s online store by keyword.

Defendant displays this search tool in a pop-up window. Consumers who perceive content visually

can click text field in the pop-up window to complete their search. Unfortunately, Defendant does

not alert screen readers of this pop-up window. Instead, screen readers remain focused on the

Digital Platform’s underlying page. As a result, Plaintiff is unlikely (or unable) to access this

important search function. Click the following link to view a short video demonstrating this access

barrier: https://youtube.com/shorts/FJG1jphkvqE.

               (b)    Similarly, Defendant allows consumers to filter the many products that it

sells, displaying these filter options in a pop-up window on the Digital Platform. Consumers who

perceive content visually can click various buttons in the pop-up to expedite and improve their

online shopping experience by narrowing their search. Unfortunately, Defendant does not alert

screen readers to this pop-up window. Instead, screen readers remain stuck on the unrelated




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elements in the Digital Platform’s underlying page. As a result, Plaintiff is unlikely (or unable) to

access this important navigational tool independently. Click the following link to view a short

video demonstrating this access barrier: https://youtube.com/shorts/qfYpFa-9ink.

               (c)     Consumers who perceive content visually will notice a pop-up window after

placing an item in their shopping cart. This pop-up window confirms the shopper placed the item

in their shopping cart successfully and asks consumers whether they would like to checkout.

Unfortunately, Defendant fails to notify screen readers when these pop-up windows appear. As a

result, screen reader users, like Plaintiff, do not receive this confirmation and shortcut to the

payment platform. Instead, screen reader users must tab back to the top of a webpage to complete

a purchase. This burdensome, backward, and confusing interaction makes it more likely that

Plaintiff and other blind shoppers will abandon the items in their shopping cart and leave the

Digital Platform before completing a purchase. Click the following link to view a short video

demonstrating this access barrier: https://youtube.com/shorts/9h6lp0oXh80.

               (d)     Links and buttons on the Digital Platform do not describe their purpose. As

a result, consumers who have a visual impairment cannot determine whether they want to follow

a particular link, making navigation an exercise of trial and error. For example, consumers who

perceive content visually will likely recognize the Digital Platform’s shopping cart icon and

understand that by clicking it, Defendant will redirect them to its online checkout platform.

Unfortunately, this icon is not labeled with sufficiently descriptive alternative text. As a result,

when screen readers tab to it, Defendant announces “button,” only. Because this text is

meaningless without visually perceiving the context in which it appears, Plaintiff is unlikely (or

unable) to locate the payment platform and complete a purchase successfully. Click the following




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link      to     view      a    short     video        demonstrating     this     access      barrier:

https://youtube.com/shorts/lM7jwC9qX50.

                (e)     Defendant uses visual cues as the only means of conveying information,

indicating an action, prompting a response, or distinguishing a visual element. Providing

information conveyed visually through an audio means is necessary to ensure that consumers who

cannot see can still perceive this information. For example, Defendant places a gray slash atop the

sizes in which a particular product is unavailable. Consumers who perceive content visually will

see this visual cue and infer that the product they’re researching is unavailable in the corresponding

size. Unfortunately, Defendant fails to include sufficiently descriptive alternative text to also

identify which sizes are unavailable, making it impossible for Plaintiff to discover which sizes are

out-of-stock without visually perceiving the context in which this information is communicated.

Click the following link to view a short video demonstrating this access barrier:

https://youtube.com/shorts/44NZHOVvLAc.

                                         Plaintiff’s Injury

         47.    As a result of the access barriers described above, and others, Defendant fails to

communicate information about its products and services to Douglass effectively, which in turn

denies Douglass full and equal access to Defendant’s online store and deters him from returning

to the store in the future.34

         48.    These communication barriers deter Douglass from browsing the Digital Platform.




34
     Wehrum, supra note 10.


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        49.     Still, Douglass intends to attempt to access the Digital Platform within the next six

months to research the products, services, and content Defendant offers or to test the Digital

Platform for compliance with the ADA.35

        50.     If the Digital Platform were accessible (i.e., if Defendant removed the access

barriers and implemented the practices described herein), Douglass could independently access

Defendant’s online services.

                   Defendant’s Digital Platform Must Comply with the ADA

        51.     The ADA “as a whole is intended ‘to provide a clear and comprehensive national

mandate for the elimination of discrimination against individuals with disabilities.’”36

        52.     Title III advances that goal by providing that “[n]o individual shall be discriminated

against on the basis of disability in the full and equal enjoyment of the products, services, facilities,

privileges, advantages, or accommodations of any place of public accommodation by any person

who owns, leases (or leases to), or operates a place of public accommodation.”37

        53.     DOJ regulations require that a public accommodation “furnish appropriate

auxiliary aids and services where necessary to ensure effective communication with individuals

with disabilities.”38




35
   Norkunas v. HPT Cambridge, LLC, 969 F. Supp. 2d 184, 194 (D. Mass. 2013) (Young, J.)
(quoting Iverson v. Braintree Prop. Assocs., L.P., No. 04-cv-12079-NG, 2008 WL 552652, at *3
n.5 (D. Mass. Feb. 26, 2008) (Gertner, J.)).
36
   Olmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 589 (1999) (quoting 42 U.S.C. § 12101(b)(1)).
37
   42 U.S.C. § 12182(a).
38
   28 C.F.R. § 36.303(c)(1); see Bragdon v. Abbott, 524 U.S. 624, 646 (1998) (holding that DOJ’s
administrative guidance on ADA compliance is entitled to deference).


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       54.     DOJ defines “auxiliary aids and services” to include “accessible electronic and

information technology” or “other effective methods of making visually delivered materials

available to individuals who are blind or have low vision.”39

       55.     Therefore, the ADA mandates that places of public accommodation provide

auxiliary aids and services to make visual materials available to individuals who are blind.40

       56.     Defendant is a place of public accommodation under the ADA because it is a “sales

or rental establishment” and/or “other service establishment.”41

       57.     The Digital Platform is a service, facility, advantage, or accommodation of

Defendant.

       58.     As a service, facility, advantage, or accommodation of Defendant, Defendant must

ensure blind patrons have full and equal access to the Digital Platform.

       59.     Indeed, the ADA expressly provides that a place of public accommodation engages

in unlawful discrimination if it fails to “take such steps as may be necessary to ensure that no

individual with a disability is excluded, denied services, segregated or otherwise treated differently

than other individuals because of the absence of auxiliary aids and services.”42

                    Defendant Received Fair Notice of its ADA Obligations

       60.     Defendant and other covered entities have had more than adequate notice of their

obligation to offer individuals with disabilities an equal opportunity to access and enjoy their

services and communications, including the Digital Platform.




39
   28 C.F.R. § 36.303(b)(2).
40
   28 C.F.R. § 36.303.
41
   42 U.S.C. § 12181(7)(E), (F).
42
   42 U.S.C. § 12182(b)(2)(A)(iii).


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       61.     Since its enactment in 1990, the ADA has clearly stated that covered entities must

provide “full and equal enjoyment of the[ir] goods, services, facilities, privileges, advantages, or

accommodations” to people with disabilities,43 and must “ensure that no individual with a

disability is excluded, denied services, segregated or otherwise treated differently than other

individuals because of the absence of auxiliary aids and services.”44

       62.     The United States Department of Justice (“DOJ”) first announced its position that

Title III applies to websites of public accommodations in a 1996 letter from Assistant Attorney

General Deval Patrick responding to an inquiry by Senator Tom Harkin regarding the accessibility

of websites to blind individuals.45

       63.     Since then, DOJ has “repeatedly affirmed the application of [T]itle III to Web sites

of public accommodations.”46

       64.     In 2000, DOJ argued to the Fifth Circuit that a business providing services solely

over the internet is subject to the ADA’s prohibitions on discrimination on the basis of disability.47

       65.     In 2002, DOJ argued to the Eleventh Circuit that there need not be a nexus between

a challenged activity and a private entity’s “brick-and-mortar” facility to obtain coverage under




43
   42 U.S.C. § 12182(a).
44
   42 U.S.C. § 12182(b)(2)(A)(iii).
45
   Letter from Deval L. Patrick, Assistant Attorney General, Civil Rights Division, Department of
Justice, to Tom Harkin, U.S. Senator (Sept. 9, 1996),
 https://www.justice.gov/crt/foia/file/666366/download (last accessed July 1, 2022).
46
   75 Fed. Reg. 43460-01, 43464 (July 26, 2010).
47
    Brief of the United States as Amicus Curiae in Support of Appellant, Hooks v. Okbridge, Inc.,
No. 99-50891 (5th Cir. June 30, 2000), https://www.justice.gov/sites/default/files/crt
/legacy/2010/12/14/hooks.pdf (last accessed July 1, 2022) (“A COMMERCIAL BUSINESS
PROVIDING SERVICES SOLELY OVER THE INTERNET IS SUBJECT TO THE ADA’S
PROHIBITION AGAINST DISCRIMINATION ON THE BASIS OF DISABILITY.”) (emphasis
in original).


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Title III. DOJ argued that Title III applies to any activity or service offered by a public

accommodation, on or off the premises.48

       66.     In 2014, DOJ entered into a settlement agreement with America’s then-leading

internet grocer to remedy allegations that its website, www.peapod.com, is inaccessible to some

individuals with disabilities, in violation of the ADA. DOJ’s enforcement action against this

online-only business affirms the ADA covers public accommodations that do not operate brick-

and-mortar facilities open to the public.49

       67.     In a September 25, 2018 letter to U.S. House of Representative Ted Budd, U.S.

Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that public

accommodations must make the websites they own, operate, or control equally accessible to

individuals with disabilities. Assistant Attorney General Boyd’s letter provides:

       The Department [of Justice] first articulated its interpretation that the ADA applies
       to public accommodations’ websites over 20 years ago. This interpretation is
       consistent with the ADA’s title III requirement that the goods, services, privileges,
       or activities provided by places of public accommodation be equally accessible to
       people with disabilities.50

       68.     In 2019, the United States Supreme Court declined to review a Ninth Circuit

decision holding that (1) Title III of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq.

(“Title III”) covers websites and mobile applications and (2) the imposition of liability on


48
   Brief for the United States as Amicus Curiae in Support of Appellant, Rendon v. Valleycrest
Productions,       Inc.,      No.     01-11197,         294     F.3d     1279      (11th      Cir.
2002), https://www.justice.gov/sites/default/files/crt/legacy/2010/12/14/rendon.pdf (last accessed
July 1, 2022).
49
   See Settlement Agreement Between the United States of America and Ahold U.S.A., Inc. and
Peapod, LLC, DJ 202-63-169 (Nov. 17, 2014), https://www.justice.gov/file/163956/download
(last accessed July 1, 2022).
50
   See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice, to
Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018),
https://www.adatitleiii.com/wp-content/uploads/sites/121/2018/10/DOJ-letter-to-congress.pdf
(last accessed July 1, 2022).


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businesses for not having an accessible website and mobile application does not violate the due

process rights of public accommodations.51

        69.       DOJ published “Guidance on Web Accessibility and the ADA” in 2022, reiterating

once again that DOJ “has consistently taken the position that the ADA’s requirements apply to all

the goods, services, privileges, or activities offered by public accommodations, including those

offered on the web.”52

        70.       Thus, since at least since 1996, Defendant has been on notice that its online

offerings must effectively communicate with disabled consumers and facilitate “full and equal

enjoyment” of the products and services it offers.53

                                       SUBSTANTIVE VIOLATION

                               Title III of the ADA, 42 U.S.C. § 12181 et seq.

        71.       The assertions contained in the previous paragraphs are incorporated by reference.

        72.       Title III of the ADA guarantees that individuals with disabilities shall have full and

equal enjoyment of the products, services, facilities, privileges, advantages, or accommodations of

any place of public accommodation.54

        73.       Defendant is bound by the regulations implementing Title III of the ADA, which

require that places of public accommodation ensure effective communication to individuals with

disabilities.55




51
   See Robles v. Domino’s Pizza, LLC, 913 F.3d 898 (9th Cir. 2019), cert. denied 140 S. Ct. 122
(2019) (No. 18-1539).
52
   Civil Rights Division, Department of Justice, Guidance on Web Accessibility and the ADA (Mar.
18, 2022), https://beta.ada.gov/resources/web-guidance/ (last accessed July 1, 2022).
53
   42 U.S.C. § 12182(a).
54
   42 U.S.C. § 12182; 28 C.F.R. § 36.201.
55
   28 C.F.R. § 36.303(c).


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          74.    Douglass is legally blind and therefore an individual with a disability under the

ADA.

          75.    Defendant is a place of public accommodation under the ADA because it is a “sales

or rental establishment” and/or “other service establishment.”56

          76.    Defendant owns, operates, or maintains the Digital Platform.

          77.    The Digital Platform is a service, facility, privilege, advantage, or accommodation

of Defendant.

          78.    The Digital Platform contains communication barriers that prevent full and equal

use by blind persons, including Douglass, using screen access software.

          79.    Because of these communication barriers, Defendant denies Douglass full and

equal enjoyment of the information, products, services, facilities, privileges, advantages, or

accommodations that it makes available to the sighted public through the Digital Platform.

          80.    These access barriers now deter Douglass from attempting to use the Digital

Platform.

          81.    Douglass intends to attempt to access the Digital Platform within the next six

months.

          82.    Defendant’s discrimination is ongoing.

                                     PRAYER FOR RELIEF

          WHEREFORE, Douglass requests judgment as follows:

          (A)    A Declaratory Judgment that at the commencement of this action Defendant was in

violation of the specific requirements of Title III of the ADA described above, and the relevant

implementing regulations of the ADA, in that Defendant took no action that was reasonably



56
     42 U.S.C. § 12181(7)(E), (F).


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calculated to ensure Defendant communicated the digital content of its Digital Platform to

individuals with disabilities effectively such that Douglass could fully, equally, and independently

access Defendant’s products and services;

       (B)     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §

36.504(a) which directs Defendant to take all steps necessary to communicate the content of its

Digital Platform to screen reader users effectively such that Defendant’s online products and

services are fully, equally, and independently accessible to individuals with visual disabilities, and

which further directs that the Court shall retain jurisdiction for a period to be determined to ensure

that Defendant has adopted and is following an institutional policy that will in fact cause it to

remain fully in compliance with the law—the specific injunctive relief requested by Plaintiff is

described more fully below:57

               (1)     Within 90-days of the Court’s Order, Defendant shall complete an

accessibility audit of its Digital Platform that will examine the accessibility and usability of the

Digital Platform by consumers who are blind.

               (2)     Within 180-days of the Court’s Order, Defendant shall develop a corrective

action strategy (“Strategy”) based on the audit findings. In addition to the deadlines outlined

below, the Strategy shall include dates by which corrective action shall be completed.




57
   The injunctive relief herein is consistent with a 2011 settlement agreement entered into between
National Federation of the Blind and The Pennsylvania State University, available at
https://accessibility.psu.edu/nfbpsusettlement/ (last accessed July 1, 2022); a 2014 settlement
agreement between the U.S. Department of Justice and Ahold U.S.A., Inc. and Peapod, LLC, supra
note 49; and a 2014 Resolution Agreement between the U.S. Department of Education and
Youngstown State University, available at https://www2.ed.gov/documents/press-
releases/youngstown-state-university-agreement.pdf (last accessed July 1, 2022).


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                (3)    Within 210-days of the Court’s Order, Defendant shall disseminate the

Strategy among its executive-level managers, employees, and contractors, if any, involved in

digital development and post it on the Digital Platform.

                (4)    Within 90-days of the Court’s Order, Defendant shall develop a Digital

Accessibility Policy Statement that demonstrates its commitment to digital accessibility to blind

and other print disabled consumers, as required by the Americans with Disabilities Act. This Policy

Statement shall be posted in the header of each homepage on the Digital Platform within 120-days

of the Court’s Order, and shall disclose that an audit is taking or has taken place and that a Strategy

will be disseminated and posted on the Digital Platform within 180-days of the Court’s Order.

                (5)    Within 240-days of the Court’s Order, Defendant shall develop procedures

to implement its Digital Accessibility Policy across the entire Digital Platform. Defendant shall

disseminate its Policy and procedures to its executive-level managers, employees, and contractors,

if any, involved in digital development.

                (6)    Within 12-months of the Court’s Order, Defendant shall conduct training,

instruction and support to ensure that all executive-level managers and employees involved in

digital development are aware of and understand the Digital Accessibility Policy, including proper

procedures, tools, and techniques to implement the Digital Accessibility Policy effectively and

consistently.

                (7)    Within 12-months of the Court’s Order, Defendant shall hire or designate a

staff person with responsibility and commensurate authority, to monitor the Digital Accessibility

Policy and procedures.

                (8)    Within 12-months of the Court’s Order, Defendant shall develop and

institute procedures that require third-party content and plug-ins built into the Digital Platform to




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provide blind consumers the same programs, benefits and services that they do to individuals

without disabilities, except that when it is technically unfeasible to do so. Defendant shall

effectuate these obligations by, among other things, implementing as part of its Request for

Proposal process language that bidders meet the accessibility standards set forth in WCAG 2.0

Level AA for web-based technology and the Americans with Disabilities Act; requiring or

encouraging, at Defendant’s discretion, as part of any contract with its vendors, provisions in

which the vendor warrants that any technology provided complies with these standards and any

applicable current federal disability law.

               (9)     Within 18-months, all pages hosted on the Digital Platform that have been

published shall be Accessible to blind users. “Accessible” means fully and equally accessible to

and independently usable by blind individuals so that blind consumers are able to acquire the same

information, engage in the same interactions, and enjoy the same services as sighted consumers,

with substantially equivalent ease of use.

               (10)    Defendant shall not release for public viewing or use a substantial addition,

update, or change to the Digital Platform until it has determined through automated and user testing

that those proposed additions, updates, or changes are Accessible.

               (11)    Defendant shall conduct (a) an automated scan monthly and (b) end-user

testing quarterly thereafter to ascertain whether any new posted content is accessible. Defendant

shall notify all employees and contractors, if any, involved in digital development if corrections to

the Digital Platform are needed and of reasonable timelines for corrections to be made. Defendant

shall note if corrective action has been taken during the next monthly scan and quarterly end-user

test.




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                (12)   Following the date of the Court’s Order, for each new, renewed, or

renegotiated contract with a vendor of Third-Party Content, Defendant shall seek a commitment

from the vendor to provide content in a format that is Accessible.

                (13)   Defendant shall provide Plaintiff, through his counsel, with a report on the

first and second anniversaries of the Court’s Order which summarize the progress Defendant is

making in meeting its obligations. Additional communication will occur before and after each

anniversary to address any possible delays or other obstacles encountered with the implementation

of the Digital Accessibility Policy.

          (C)   Payment of actual, statutory, nominal, and other damages, as the Court deems

proper;

          (D)   Payment of costs of suit;

          (E)   Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR

§ 36.505, including costs of monitoring Defendant’s compliance with the judgment;58

          (F)   Whatever other relief the Court deems just, equitable and appropriate; and

          (G)   An Order retaining jurisdiction over this case until Defendant has complied with

the Court’s Orders.

 Dated: July 6, 2022                               /s/ Kevin W. Tucker
                                                   Kevin W. Tucker (He/Him) (PA 312144)

58
   See People Against Police Violence v. City of Pittsburgh, 520 F.3d 226, 235 (3d Cir. 2008)
(“This Court, like other Courts of Appeals, allows fees to be awarded for monitoring and enforcing
Court orders and judgments.”); Gniewkowski v. Lettuce Entertain You Enterprises, Inc., No. 2:16-
cv-01898-AJS (W.D. Pa. Jan. 11, 2018) (ECF 191); Access Now, Inc. v. Lax World, LLC, No.
1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11); Amended Order Granting In Part
Plaintiffs’ Motion For Attorneys’ Fees And Costs; Denying Administrative Motion To
Seal, National Federation of the Blind of California v. Uber Technologies, Inc., No. 14-cv-04086-
NC (N.D. Cal. Nov. 8, 2019), https://rbgg.com/wp-content/uploads/NFB-v-Uber-Amended-
Order-Granting-In-Part-Pltfs-Motion-for-Attys-Fees-and-Costs-11-08-19.pdf (last accessed July
1, 2022) (finding plaintiffs “are entitled to reasonable attorneys’ fees incurred in connection with
monitoring [defendant's] compliance with the Settlement” of a Title III ADA case).


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